     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 1 of 10 Page ID #:39


 1     Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
       Michael J. Manning, Esq. (State Bar No. 286879)
 2     Craig G. Côté, Esq. (State Bar No. 132885)
 3     Osman M. Taher, Esq. (State Bar No. 272441)
       MANNING LAW, APC
 4     4667 MacArthur Blvd., Suite 150
 5     Newport Beach, CA 92660
       Office: (949) 200-8755
 6     ADAPracticeGroup@manninglawoffice.com
 7

 8

 9     Attorneys for Plaintiff: JAMES RUTHERFORD
10

11                            UNITED STATES DISTRICT COURT
12             CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
13

14     JAMES RUTHERFORD, an                  Case No.
15     individual,                           First Amended Complaint For
16               Plaintiff,                  Damages And Injunctive Relief For:

17     v.                                     1. VIOLATIONS OF THE
18                                               AMERICANS WITH DISABILITIES
                                                 ACT OF 1990, 42 U.S.C. §12181 et
19     JOYCE UNLIMITED, INC., a                  seq.
20     California corporation; TALAT
       RADWAN AND NATASHA                     2. VIOLATIONS OF THE UNRUH
21     RADWAN, Co-Trustees of the                CIVIL RIGHTS ACT, CALIFORNIA
22     CANYON SPRINGS                            CIVIL CODE § 51 et seq.
       INVESTMENT TRUST; and DOES
23     1-10, inclusive,
24
                      Defendants.
25

26

27           Plaintiff, JAMES RUTHERFORD (“Plaintiff”), complains of Defendants
28     JOYCE UNLIMITED, INC., a California corporation; TALAT RADWAN AND

                                               1
                                 FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 2 of 10 Page ID #:40


 1     NATASHA RADWAN, Co-Trustees of the CANYON SPRINGS INVESTMENT
 2     TRUST; and DOES 1-10 (“Defendants”) and alleges as follows:
 3                                            PARTIES:
 4             1.   Plaintiff is an adult California resident. Plaintiff is substantially limited
 5
       in performing one or more major life activities, including but not limited to:
 6
       walking, standing, ambulating, sitting, in addition to twisting, turning, and grasping
 7

 8     objects. As a result of these disabilities, Plaintiff relies upon mobility devices,

 9     including at times a wheelchair, to ambulate. With such disabilities, Plaintiff
10     qualifies as a member of a protected class under the Americans with Disabilities Act
11
       (“ADA”), 42 U.S.C. §12102(2) and the regulations implementing the ADA set forth
12
       at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendant’s facility
13

14     and prior to instituting this action, Plaintiff suffered from a “qualified disability”

15     under the ADA, including those set forth in this paragraph. Plaintiff is also the
16     holder of a Disabled Person Parking Placard.
17             2.   Plaintiff brings this action acting as a “private attorney general” as
18     permitted under the American with Disabilities Act of 1990 (“ADA”) to privatize
19     enforcement of the ADA without the American tax payer(s) bearing the financial tax
20     burden for such action.
21             3.   Defendant TALAT RADWAN AND NATASHA RADWAN, Co-
22     Trustees of the CANYON SPRINGS INVESTMENT TRUST, owned the property
23     located at 12125 Day Street, Moreno Valley, CA 92557 (“Property”) on August of
24     2018.
25             4.   Defendant TALAT RADWAN AND NATASHA RADWAN, Co-
26     Trustees of the CANYON SPRINGS INVESTMENT TRUST, owns the Property
27     currently.
28             5.   JOYCE UNLIMITED, INC., a California corporation, owned, operated
                                                  2
                                     FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 3 of 10 Page ID #:41


 1     and controlled the business of JJ’S MARKET AND LIQUOR (“Business”) on
 2     August of 2018.
 3            6.     JOYCE UNLIMITED, INC., a California corporation, owns, operates
 4     and controls the Business currently.
 5            7.     Plaintiff does not know the true names of Defendants, their business
 6     capacities, their ownership connection to the Property and Business, or their relative
 7     responsibilities in causing the access violations herein complained of, and alleges a
 8     joint venture and common enterprise by all such Defendants. Plaintiff is informed
 9     and believes that each of the Defendants herein, including Does 1 through 10,
10     inclusive, is responsible in some capacity for the events herein alleged, or is a
11     necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
12     when the true names, capacities, connections, and responsibilities of the Defendants
13     and Does 1 through 10, inclusive, are ascertained.
14                                 JURISDICTION AND VENUE
15            8.     This Court has subject matter jurisdiction over this action pursuant
16     to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
17     with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
18            9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
19     claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so
20     related to Plaintiff’s federal ADA claims in that they have the same nucleus of
21     operative facts and arising out of the same transactions, they form part of the same
22     case or controversy under Article III of the United States Constitution.
23            10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
24     Property which is the subject of this action is located in this district and because
25     Plaintiff’s causes of action arose in this district.
26                                  FACTUAL ALLEGATIONS
27            11.    Plaintiff went to the Business on or about August of 2018 to purchase
28     liquor.
                                                   3
                                      FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 4 of 10 Page ID #:42


 1           12.    The Business, including the Property, is a facility open to the public, a
 2     place of public accommodation, and a business establishment.
 3           13.    Parking spaces are some of the facilities, privileges and advantages
 4     reserved by Defendants to persons patronizing the Business and Property.
 5           14.    Unfortunately, although parking spaces were some of the facilities
 6     reserved for patrons, there were barriers for persons with disabilities that cause the
 7     named facilities to fail as to compliance with the Americans with Disability Act
 8     Accessibility Guidelines (“ADAAG”) on or around August of 2018, or at any time
 9     thereafter up to and including, the date of the filing of this First Amended
10     Complaint.
11           15.    Instead of having architectural barrier free facilities for patrons with
12     disabilities, Plaintiff experienced the following at the Business and Property: the
13     accessible parking spaces are not located on the shortest accessible route to the
14     entrance per Section 208.3.1. Parking spaces complying with 502 that serve a
15     particular building or facility shall be located on the shortest accessible route from
16     parking to an entrance complying with 206.4. Where parking serves more than one
17     accessible entrance, parking spaces complying with 502 shall be dispersed and
18     located on the shortest accessible route to the accessible entrances; the curb ramp at
19     the accessible parking spaces projects into the access aisle in violation of Section
20     406.5 which requires that curb ramps and the flared sides of curb ramps shall be
21     located so that they do not project into vehicular traffic lanes, parking spaces, or
22     parking access aisles; and, parking spaces and access aisles serving them shall
23     comply with 302. Access aisles shall be at the same level as the parking spaces they
24     serve. Changes in level are not permitted.
25           16.    Subject to the reservation of rights to assert further violations of law
26     after a site inspection found infra, Plaintiff asserts there are additional ADA
27     violations which affect him personally.
28           17.    Plaintiff is informed and believes and thereon alleges that, currently,
                                                 4
                                    FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 5 of 10 Page ID #:43


 1     there are no compliant, accessible Business facilities designed, reserved and
 2     available to persons with disabilities at the Business in addition to that alleged supra.
 3            18.      Plaintiff is informed and believes and thereon alleges that Defendants
 4     had no policy or plan in place to make sure that the parking spaces were compliant
 5     for persons with disabilities and remained compliant prior to August of 2018.
 6            19.      Plaintiff is informed and believes and thereon alleges Defendants have
 7     no policy or plan in place to make sure that the complaints of violations alleged
 8     above are available to persons with disabilities and remain compliant currently.
 9            20.      Plaintiff personally encountered the above alleged barriers when
10     attempting to access the Business and Property.            These inaccessible conditions
11     denied the Plaintiff full and equal access and caused him difficulty, humiliation,
12     frustration and upset.
13            21.      As an individual with a mobility disability who at times is dependent
14     upon a mobility device, Plaintiff has a keen interest in whether public
15     accommodations have architectural barriers that impede full accessibility to those
16     accommodations by individuals with mobility impairments.
17            22.      Plaintiff is being deterred from patronizing the Business and its
18     accommodations on particular occasions, but intends to return to the Business for the
19     dual purpose of availing himself of the goods and services offered to the public and
20     to ensure that the Business ceases evading its responsibilities under federal and state
21     law.
22            23.      As a result of his difficulty, humiliation, and frustration because of the
23     inaccessible condition of the facilities of the Business, Plaintiff did not fully access
24     the Business or Property. However, Plaintiff would like to return to the location
25     given its close proximity to an area he frequents from time to time.
26            24.      The defendants have failed to maintain in working and useable
27     conditions those features required to provide ready access to persons with
28     disabilities.
                                                    5
                                       FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 6 of 10 Page ID #:44


 1           25.     The violations identified above are easily removed without much
 2     difficulty or expense. They are the types of barriers identified by the Department of
 3     Justice as presumably readily achievable to remove and, in fact, these barriers are
 4     readily achievable to remove. Moreover, there are numerous alternative
 5     accommodations that could be made to provide a greater level of access if complete
 6     removal were not achievable.
 7           26.     Given the obvious and blatant violation alleged hereinabove, Plaintiff
 8     alleges, on information and belief, that there are other violations and barriers in the
 9     site that relate to his disabilities. Plaintiff will amend the First Amended Complaint,
10     to provide proper notice regarding the scope of this lawsuit, once he conducts a site
11     inspection. However, please be on notice that Plaintiff seeks to have all barriers
12     related to their disabilities remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir.
13     2008) (holding that once a plaintiff encounters one barrier at a site, he can sue to
14     have all barriers that relate to his disability removed regardless of whether he
15     personally encountered them).
16           27.     Given the obvious and blatant violation alleged hereinabove, Plaintiff
17     alleges, on information and belief, that the failure to remove these barriers was
18     intentional because: (1) these particular barriers are intuitive and obvious; (2) the
19     defendants exercised control and dominion over the conditions at this location, and
20     therefore, (3) the lack of accessible facilities was not an accident because had the
21     defendants intended any other configuration, they had the means and ability to make
22     the change.
23           28.     Without injunctive relief, plaintiff will continue to be unable to fully
24     access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
25                                 FIRST CAUSE OF ACTION
26     VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
27                                    42 U.S.C. § 12181 et seq.
28           29.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged
                                                  6
                                     FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 7 of 10 Page ID #:45


 1     above and each and every other paragraph in this First Amended Complaint
 2     necessary or helpful to state this cause of action as though fully set forth herein.
 3           30.    Under the ADA, it is an act of discrimination to fail to ensure that the
 4     privileges, advantages, accommodations, facilities, goods, and services of any place
 5     of public accommodation are offered on a full and equal basis by anyone who owns,
 6     leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 7     Discrimination is defined, inter alia, as follows:
 8                  a.     A failure to make reasonable modifications in policies, practices,
 9                         or procedures, when such modifications are necessary to afford
10                         goods, services, facilities, privileges, advantages, or
11                         accommodations to individuals with disabilities, unless the
12                         accommodation would work a fundamental alteration of those
13                         services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                  b.     A failure to remove architectural barriers where such removal is
15                         readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
16                         defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
17                         Appendix "D".
18                  c.     A failure to make alterations in such a manner that, to the
19                         maximum extent feasible, the altered portions of the facility are
20                         readily accessible to and usable by individuals with disabilities,
21                         including individuals who use wheelchairs, or to ensure that, to
22                         the maximum extent feasible, the path of travel to the altered area
23                         and the bathrooms, telephones, and drinking fountains serving
24                         the area, are readily accessible to and usable by individuals with
25                         disabilities. 42 U.S.C. § 12183(a)(2).
26           31.    Any business that provides parking spaces must provide accessible
27     parking spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
28     Standards, parking spaces and access aisles must be level with surface slopes not
                                                 7
                                     FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 8 of 10 Page ID #:46


 1     exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
 2     Standards, access aisles shall be at the same level as the parking spaces they serve.
 3     Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
 4     required to be nearly level in all directions to provide a surface for wheelchair
 5     transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Specifically, built
 6     up curb ramps are not permitted to project into access aisles and parking spaces. Id.
 7     No more than a 1:48 slope is permitted. Standards § 502.4.
 8           32.    Here, the failure to ensure that accessible facilities were available and
 9     ready to be used by Plaintiff is a violation of law.
10           33.    A public accommodation must maintain in operable working condition
11     those features of its facilities and equipment that are required to be readily accessible
12     to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
13           34.    Given its location and options, Plaintiff will continue to desire to
14     patronize the Business but he has been and will continue to be discriminated against
15     due to lack of accessible facilities and, therefore, seek injunctive relief to remove the
16     barriers.
17                               SECOND CAUSE OF ACTION
18     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL
19                                       CODE § 51 et seq.
20           35.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
21     above and each and every other paragraph in this First Amended Complaint
22     necessary or helpful to state this cause of action as though fully set forth herein.
23           36.    California Civil Code § 51 et seq. guarantees equal access for people
24     with disabilities to the accommodations, advantages, facilities, privileges, and
25     services of all business establishments of any kind whatsoever. Defendants are
26     systematically violating the UCRA, Civil Code § 51 et seq.
27           37.    Because Defendants violate Plaintiff’s rights under the ADA, they also
28     violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code § 51(f),
                                                 8
                                     FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 9 of 10 Page ID #:47


 1     52(a).) These violations are ongoing.
 2            38.   Defendants’ actions constitute intentional discrimination against
 3     Plaintiff on the basis of their individual disabilities, in violation of the UCRA, Civil
 4     Code § 51 et seq. Plaintiff is informed and believes and thereon alleges Defendants
 5     have been previously put on actual notice that its premises are inaccessible to
 6     Plaintiff as above alleged. Despite this knowledge, Defendants maintain the
 7     Property and Business in an inaccessible form.
 8                                            PRAYER
 9     WHEREFORE, Plaintiff prays that this court award damages provide relief as
10     follows:
11            1.    A preliminary and permanent injunction enjoining Defendants from
12     further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
13     51 et seq. with respect to its operation of the Business and Subject Property; Note:
14     Plaintiff is not invoking section 55 of the California Civil Code and is not
15     seeking injunctive relief under the Disable Persons Act at all.
16            2.    An award of actual damages and statutory damages of not less than
17     $4,000 per violation pursuant to § 52(a) of the California Civil Code and $4,000 for
18     each time he visits an establishment that contains architectural barriers that deny the
19     Plaintiff of full and equal enjoyment of the premises (Feezor v. Del Taco, Inc.
20     (2005) 431 F.Supp.2d 1088, 1091.)
21            3.    An additional award of $4,000.00 as deterrence damages for each
22     violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
23     LEXIS 150740 (USDC Cal, E.D. 2016);
24            4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
25     pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
26     ////
27     ////
28     ////
                                                 9
                                    FIRST AMENDED COMPLAINT
     Case 5:18-cv-02656-ODW-SHK Document 17 Filed 04/01/19 Page 10 of 10 Page ID #:48


 1     ////
 2                                DEMAND FOR JURY TRIAL
 3            Plaintiff hereby respectfully request a trial by jury on all appropriate issues
 4     raised in this First Amended Complaint.
 5

 6     Dated: April 1, 2019              MANNING LAW, APC
 7

 8                                       By: /s/ Joseph R. Manning Jr., Esq.
                                            Joseph R. Manning Jr., Esq.
 9                                          Michael J. Manning, Esq.
10                                          Craig G. Côté, Esq.
                                            Osman M. Taher, Esq.
11                                          Attorneys for Plaintiff
12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
28
                                                 10
                                     FIRST AMENDED COMPLAINT
